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     9
    10                            UNITED STATES DISTRICT COURT
    11    NORTHERN DISTRICT OF CALIFORNIA – SAN FRANCISCO DIVISION
    12
    13   JEAN MACDONALD,                                Case No. 3:13-cv-02988-JST
         VERONICA H. AGUIRRE, AND
    14   BRIAN C. BARBEE, individually,                 CLASS ACTION
         and on behalf of a class of similarly
    15   situated individuals,                          NOTICE OF MOTION AND
                                                        MOTION FOR ATTORNEYS’ FEES
    16                  Plaintiffs,                     UNDER A CATALYST THEORY;
                                                        MEMORANDUM OF POINTS AND
    17         vs.                                      AUTHORITIES IN SUPPORT
                                                        THEREOF
    18   FORD MOTOR COMPANY,
                                                        [Declaration of Tarek H. Zohdy and
    19                  Defendant.                      attached Exhibits filed concurrently
                                                        herewith]
 




    20
                                                        Judge:         Hon. John S. Tigar
    21                                                  Courtroom:     9, 19th Floor.
                                                        Date:          September 15, 2015
    22                                                  Time:          2:00 p.m.
    23
    24
    25
    26
    27
    28
                                                                               CASE NO 3:13-CV-02988-JST
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     1   TO ALL PARTIES AND THEIR ATTORNEYS HEREIN:
     2         PLEASE TAKE NOTICE that on Thursday September 15, 2015 at
     3   2:00 p.m., or so soon thereafter as the parties may be heard, in Courtroom 9 of
     4   the above entitled court, located at 450 Golden Gate Avenue, San Francisco,
     5   California, Plaintiffs Jean MacDonald, Veronica H. Aguirre and Brian C. Barbee
     6   will move this Court for an Order granting Plaintiffs’ Motion for Attorneys’ Fees
     7   Under a Catalyst Theory.
     8         This Motion is made pursuant to Cal. Code of Civ. P. (“CCP”) § 1021.5.
     9   Plaintiffs’ respectfully request that this Court issue an Order granting Plaintiffs’
    10   Motion for Attorneys’ Fees Under a Catalyst Theory.
    11         This Motion is based on this Notice of Motion and Motion, the
    12   accompanying Memorandum of Points and Authorities in Support thereof, the
    13   Declaration of Tarek H. Zohdy and supporting evidence, and all other pleadings
    14   and papers on file in this action and such argument as may be presented to the
    15   Court at the time of the hearing.
    16
    17   Dated: June 22, 2015                         Respectfully submitted,
    18                                                Capstone Law APC
    19
 




    20
                                                By:     /s/ Tarek H. Zohdy
    21                                                Jordan L. Lurie
                                                      Robert K. Friedl
    22                                                Tarek H. Zohdy
                                                      Cody R. Padgett
    23
                                                      Attorneys for Plaintiffs
    24
    25
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     1   I.      INTRODUCTION AND OVERVIEW
     2           Plaintiffs filed their initial complaint in this action on June 28, 2013
     3   alleging a safety defect in the Motor Electronics Coolant Pump (“MECP”) for
     4   2005-2008 Ford Escape Hybrid and/or 2006-2008 Mercury Mariner Hybrid
     5   vehicles (“Class Vehicles”). Plaintiffs identified a defect in the MECP that can
     6   result in stalls while driving. Fifteen (15) months later and following extensive
     7   litigation, on September 2, 2014, Ford notified NHTSA of its intent to perform a
     8   voluntary safety recall (Safety Recall 14S19 or the “Recall”) of the Class
     9   Vehicles to address the exact defect in the MECP identified by Plaintiffs.
    10   Plaintiffs hereby move for an order that their lawsuit was a catalyst for the
    11   Recall.1
    12           The chronology of events confirms that Plaintiffs’ lawsuit was a catalyst
    13   for the Recall. See Henderson v. J.M. Smucker Company, 2013 U.S. Dist.
    14   LEXIS 87030 at *10 (C.D. Cal. 2013) (citing Graham v. DaimlerChrysler Corp.,
    15   34 Cal. 4th 553, 573 (2004) (the “sensible approach” is for the chronology of
    16   events to give rise to the inference that plaintiff’s action was the cause; the
    17   burden then shifts to defendant to offer rebuttal). To prevail on a catalyst theory,
    18   Plaintiffs do not have to prove that their lawsuit was the only cause for the
    19   Recall; they only have to prove that it was a significant cause. Graham, 34 Cal.
 




    20   4th at 577. “If a plaintiff’s lawsuit induced the defendant’s response or was a
    21   material factor or contributed in a significant way to the result achieved, then the
    22   plaintiff has shown the necessary causal connection.” California for Responsible
    23   Toxic Management v. Kizer, 211 Cal. App. 3d 961, 967 (1989). Plaintiffs have
    24
                 1
    25           The parties have stipulated that “the only issue to be determined going
         forward is Plaintiffs’ entitlement to fees under a catalyst theory for prompting
    26   the Recall.” Dkt. No. 56. The Court also has approved the parties’ request to
         bifurcate the proceedings related to Plaintiffs’ catalyst fee motion. The first
    27   stage will determine whether Plaintiffs are entitled to recover attorneys’ fees
         under a catalyst theory. The second stage will determine the amount of fees to be
    28   awarded. Dkt. No. 64.
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     1   satisfied that standard.
     2         It is undisputed that Ford issued the Recall a year and three months after
     3   Plaintiffs initiated this action, after Plaintiffs twice amended their complaint,
     4   after Ford twice moved to dismiss Plaintiffs’ complaint, after Ford answered
     5   Plaintiffs’ complaint, after the Parties exchanged Initial Disclosures and
     6   discovery responses; and after Plaintiffs sent Ford multiple settlement demands
     7   to remedy the MECP defect. Ford presumably sufficiently investigated
     8   Plaintiffs’ claims because at every opportunity, Ford continued to deny that
     9   Plaintiffs’ claims had merit and that the MECP problem was a safety issue. All
    10   of this activity occurred prior to the Recall. Then, in September 2014, Ford
    11   suddenly announced the Recall – which consists of the same relief Plaintiffs had
    12   been seeking – and now has the temerity to claim Plaintiffs’ lawsuit had no
    13   effect on Ford’s decision.
    14         A set forth below, the evidence shows that it was only after this Court’s
    15   March 31, 2014 Order on Ford’s motion to dismiss Plaintiffs’ Second Amended
    16   Complaint [Dkt . No. 43] sustaining Plaintiffs’ fraud based causes of action –
    17   CLRA and UCL – that Ford opened a formal investigation into the MECP defect
    18   in April 2014. The motion to dismiss order confirmed Plaintiffs’ allegations that
    19   MECP problem was a “safety” defect; a fact that Ford did not dispute. It was
 




    20   that Order, resulting from this litigation, that prompted Ford to take action. Once
    21   this Court affirmed that the MECP problem was safety related, Ford had no
    22   choice but to finally act. Ford’s own chronology of events submitted to NHTSA
    23   in connection with the Recall further confirms that the information that Ford
    24   relied on to Recall the Class Vehicles already had been identified earlier by
    25   Plaintiffs’ in this lawsuit.
    26         Predictably, Ford contends that Plaintiffs’ lawsuit “played no role in
    27   Ford’s decision” to issue the vehicle Recall in this action. See “Ford’s Position
    28   on Catalyst Fees,” Joint Case Management at 5 [Dkt. No. 56]. Ford’s argument
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     1   appears to be that Plaintiffs’ lawsuit did not provide any more information than
     2   Ford already had based on its own prior investigation of the MECP in 2009 and
     3   that it was an email inquiry from an employee at a Canadian governmental
     4   agency, Transport Canada, and not Plaintiffs’ lawsuit, that triggered the analysis
     5   and investigation that led to the Recall.
     6            Respectfully, Ford’s position is a story contrived after the fact, strains
     7   credulity and is demonstrably false. Further, conveniently, neither Kenneth Lilly
     8   (who is the person at the center of the MECP investigation and designated by
     9   Ford as most knowledgeable regarding Plaintiffs’ lawsuit and the MECP defect),
    10   nor the Canadian inquiry, were even identified in Ford’s Initial Disclosures or
    11   discovery responses.
    12            Moreover, if Ford is correct that Plaintiffs’ complaint and subsequent
    13   litigation had no effect on Ford, Ford has bigger problems than just Plaintiffs’
    14   catalyst motion. It would appear that, like General Motors and the ignition
    15   switch debacle, Ford did not take Plaintiffs’ claims seriously, even though
    16   Plaintiffs’ lawsuit repeatedly called to Ford’s attention a critical safety issue that
    17   ultimately resulted in the Recall. This points to an even more fundamental
    18   breakdown on the part of Ford. Ford either has to admit that Plaintiffs’ lawsuit
    19   played a role in the Recall or has to admit that, for nearly a year, Ford did
 




    20   nothing in response to being notified by Plaintiffs that the MECP posed a serious
    21   safety concern.
    22   II.      THE LEGAL STANDARD FOR A CATALYST FEE AWARD
    23            A party seeking an award of attorneys’ fees under CCP section 1021.5
    24   must be a “successful party.” Courts in the Ninth Circuit have endorsed the
    25   California Supreme Court’s determination that a party may be entitled to section
    26   1021.5 attorneys’ fees under a “catalyst theory.” See, e.g., Henderson, supra,
    27   2013 U.S. Dist. LEXIS 87030 at *6 (citing Graham v. DaimlerChrysler Corp.,
    28   34 Cal. 4th 553 (2004) and Tipton-Whittingham v. City of Los Angeles, 34 Cal.
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     1   4th 604, 608 (2004) (“California law continues to recognize the catalyst theory
     2   and does not require a ‘judicially recognized change in the legal relationship
     3   between the parties’ [such as a judgment on the merits, a consent decree or a
     4   judicially ordered settlement] as a prerequisite for obtaining attorneys’ fees
     5   under Code of Civil Procedure section 1021.5.”). See also Cates v. Chiang, 213
     6   Cal. App. 4th 791 (2013); Hogar v. Community Development Commission of the
     7   City of Escondido, 157 Cal. App. 4th 1358 (2007).
     8         To obtain an award of attorneys’ fees on a catalyst theory, “a plaintiff must
     9   establish that (1) the lawsuit was a catalyst motivating the defendants to provide
    10   the primary relief sought; (2) the lawsuit had merit and achieved its catalytic
    11   effect by threat of victory, not by dint of nuisance and threat of expense, as
    12   elaborated in Graham; and (3) plaintiffs reasonably attempted to settle the
    13   litigation prior to filing the lawsuit.” Tipton-Whittingham, 34 Cal. 4th at 608.
    14   See also Graham, 34 Cal. 4th at 567, 575, 577; Hogar, 157 Cal. App. 4th at
    15   1365. Importantly, the catalyst theory does not require that plaintiffs’ lawsuit be
    16   the only cause of defendants’ acquiescence. “Rather, the litigation need only be a
    17   substantial factor contributing to the defendant’s action.” Graham, 34 Cal. 4th at
    18   577. “If a plaintiff’s lawsuit induced the defendant’s response or was a material
    19   factor or contributed in a significant way to the result achieved, then the plaintiff
 




    20   has shown the necessary causal connection.” California for Responsible Toxic
    21   Management v. Kizer, 211 Cal. App. 3d 961, 967 (1989). See also Tipton-
    22   Whittingham, 34 Cal. 4th at 607 (a lawsuit is a catalyst where the Plaintiff
    23   “activates” the defendant to modify its behavior). See also Tazel v. City of
    24   Richmond, 2007 WL 172379, at *12 ( 2007) (“A defendant’s voluntary action
    25   induced by plaintiff’s lawsuit will still support an attorney fee award on the
    26   rationale that the lawsuit spurred defendant to act or was a catalyst for speeding
    27   defendants’ response.”). See also Marine Forests Society v. California Coastal
    28   C, 160 Cal. App. 4th 867, 877 (2008) (a plaintiff is considered a “successful
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     1   party” entitled to attorneys’ fees under section 1021.5 “if the defendant changes
     2   its behavior substantially because of, and in the manner sought by, the
     3   litigation”).
     4          “Obviously, it can be difficult to prove causation where, as here plaintiff
     5   seeks to recover on a catalyst theory. When action is taken by defendant after
     6   plaintiff’s lawsuit is filed, the chronology of events may permit the inference that
     7   the two events are causally related.” California for Responsible Toxic
     8   Management, supra, 211 Cal. App. 3d at 961. See also Henderson, 2013 WL
     9   3146774 at *10 (“the sensible approach. . . is to allow the chronology of events
    10   to give rise to the inference that the lawsuit . . .and the actions taken by
    11   [defendant] are causally related and such inference [then] shifts the burden to
    12   defendant to offer rebuttal.”). “The appropriate benchmarks in determining
    13   which party prevailed are (a) the situation immediately prior to the
    14   commencement of the lawsuit (b) the situation today, and the role if any played
    15   by the litigation in effecting any changes between the two.” Hogar, 157 Cal.
    16   App. 4th at 1367.
    17   III.   PLAINTIFFS’ LAWSUIT WAS A CATALYST BASED ON THE
    18          CHRONOLOGY OF EVENTS
    19          Based on the following chronology, Ford was well aware of Plaintiffs’
 




    20   lawsuit prior to the Recall, and Plaintiffs’ action repeatedly put Ford on notice of
    21   the safety concerns regarding the MECP defect. The chronology also confirms
    22   that, prior to this Motion, Ford failed to tell Plaintiffs or the Court anything about
    23   the Canadian inquiry that supposedly was responsible for the Recall or who
    24   Kenneth Lilly is.
    25          A.       Plaintiffs’ CLRA Letter and Identification of Safety Defect
    26          On June 25, 2013, before the lawsuit was filed, Plaintiffs served Ford with
    27   a pre-litigation settlement demand pursuant to the CLRA. See Declaration of
    28   Tarek Zohdy in Support of Plaintiffs’ Motion for Attorneys’ Fees Under a
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     1   Catalyst Theory (“Zohdy Decl.”) Ex. 1. The letter informed Ford of safety issue
     2   and demanded that Ford provide a class-wide remedy.
     3         B.       Plaintiffs’ Initial Complaint
     4         Plaintiffs’ first complaint was filed on June 28, 2013. The complaint
     5   alleged defects in the Motor Electronics Coolant Pump in 2005-2008 Ford
     6   Escape and Mercury Mariner hybrid vehicles. In their complaint Plaintiffs
     7   specifically identified Ford’s knowledge of the existing defect, Ford’s failure to
     8   disclose the defect to purchasers, and that the defect was a safety hazard. The
     9   complaint was served on Defendant on July 2, 2013. David George, of Dykema
    10   Gosset PLLC, contacted Plaintiffs’ counsel on July 15, 2013 informing Plaintiffs
    11   that his firm had been retained by Ford Motor Company for purposes of
    12   Plaintiffs’ case and requesting an extension for Ford to respond to Plaintiffs’
    13   initial complaint. Zohdy Decl. Ex. 2. The Parties filed a stipulation granting
    14   Ford Motor Company a thirty (30) day extension to respond to Plaintiffs’
    15   complaint on July 23, 2013. [Dkt. No. 6]. Thereafter, Ford Motor Company
    16   filed their declination to proceed before a magistrate judge August 16, 2013
    17   [Dkt. No.16] and the case was assigned to the Honorable Judge Jon S. Tigar on
    18   August 19, 2013. [Dkt. No. 14].
    19         After meeting and conferring, the Parties filed a stipulation on August 29,
 




    20   2013 for Plaintiffs’ to file a First Amended Complaint on September 5, 2013 in
    21   lieu of Ford filing a motion to dismiss Plaintiffs’ original complaint. [Dkt.
    22   No.16]. In other words, Ford is hard-pressed to argue that it had no knowledge
    23   of Plaintiffs’ lawsuit. Ford apparently had enough knowledge to hire outside
    24   counsel, approve and file various stipulations, and determine to not proceed
    25   before a magistrate.
    26         C.       Second Demand Letter
    27         Prior to filing their First Amended Complaint, on July 18, 2013, Plaintiffs
    28   sent Ford a second formal demand letter requesting that Ford remedy the alleged
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     1   defect. Zohdy Decl. Ex. 3. The letter again identified the MECP problem as a
     2   safety defect. Even though Ford was represented by counsel at that point, Ford’s
     3   counsel instructed Plaintiffs to send the letter directly to Ford while carbon
     4   copying him. Zohdy Decl. Ex. 4. Ford has at this point received two formal
     5   demand letters in two months identifying a safety defect and requesting a
     6   corrective remedy.
     7          D.       Plaintiffs’ First Amended Complaint
     8          Plaintiffs’ First Amended Complaint was filed on September 5, 2013.
     9   [Dkt. No. 17]. Thereafter, on September 19, 2013, Ford filed its motion to
    10   dismiss Plaintiffs’ First Amended Complaint. [Dkt. No. 19]. In its motion, Ford
    11   specifically did not dispute that the defect alleged by Plaintiffs was a safety
    12   hazard. [Dkt. No. 19 at 12, ln. 13-14]. Ford’s arguments were essentially that
    13   Plaintiffs’ implied warranties had expired at the time Plaintiffs first experienced
    14   the alleged defect and that Plaintiffs had failed to meet their burden in alleging
    15   that Ford had pre-sale knowledge of the allege defect. [Dkt. No. 19]. In support
    16   of its motion to dismiss, Ford filed the declaration of Mark Taylor, a Design
    17   Analysis Engineer for Ford Motor Company employed at Ford for twenty-five
    18   (25) years. This declaration proves that a Ford senior Design Analysis Engineer
    19   was aware of Plaintiffs’ allegations and was actively involved in Ford’s attempt
 




    20   to dismiss Plaintiffs’ case a year before any recall is announced.
    21          After evaluating Ford’s motion, Plaintiffs decided to file a Second
    22   Amended Complaint. Thereafter, Plaintiffs’ met and conferred with Ford’s
    23   counsel, who discussed Plaintiffs’ request with Ford and received consent from
    24   ford for Plaintiffs to file a Second Amended Complaint. Plaintiffs provided Ford
    25   a redlined and final version of their Second Amended Complaint for review
    26   before it was filed. Zohdy Decl. Ex. 5. The Parties filed a stipulation permitting
    27   Plaintiffs to file a Second Amended Complaint on October 15, 2013. [Dkt. No.
    28   24].
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     1         E.       Plaintiffs’ Second Amended Complaint and this Court’s Motion
     2                  to Dismiss Order
     3         On October 24, 2013 Plaintiffs filed their Second Amended Complaint.
     4   [Dkt. No. 27]. Thereafter, on November 14, 2013 Ford filed its motion to
     5   dismiss Plaintiffs’ Second Amended Complaint. [Dkt. No. 28]. Along with its
     6   motion, Ford again filed a declaration of Mark Taylor. In its motion, Ford again
     7   did not dispute that the alleged defect created a safety hazard, but instead again
     8   attacked Plaintiffs’ pre-sale knowledge allegations. In other words, in both
     9   Motions to Dismiss Plaintiffs’ complaints, Ford did not – and could not-- dispute
    10   that the defect alleged by Plaintiffs created a safety hazard. These confirmations
    11   came on September 19, 2013 and November 14, 2013, months before Ford now
    12   argues that it “discovered” there may be a safety issue.
    13         On March 31, 2014, the Court issued its Order granting in part and
    14   denying in part Ford’s motion to dismiss Plaintiffs’ Second Amended Complaint.
    15   [Dkt. No. 43]. In its Order, the Court expressly confirmed that Ford did not
    16   dispute that the alleged defect was a material safety hazard. “Ford does not
    17   dispute that the alleged defect is a material safety hazard. . . .” Id. at 5:6-7. It
    18   was not until after the Court issued its Order that Ford contends it determined
    19   that an investigation was warranted. In fact, according to Ford’s own notice to
 




    20   NHTSA, Ford began looking into the MECP defect identified by Plaintiffs in
    21   June of 2013 as a possible safety issue in April of 2014, right after the Court
    22   issued its March 31, 2014 order, and after Ford twice admitted that the issue may
    23   cause a safety issue. As set forth below, Ford was so concerned about the Order
    24   and the confirmation of the safety defect allegations that Ford attempted to
    25   remove those allegations from the Order. Zohdy Decl. ¶2.
    26         Ford filed its answer to Plaintiffs’ Second Amended Complaint on May 6,
    27   2014 and the Parties commenced discovery.
    28
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     1         F.       Initial Disclosures, Discovery, and Ford’s Answer to Plaintiffs’
     2                  Second Amended Complaint
     3         On April 16, 2014, after the Court issued is Order on Ford’s motion, the
     4   Parties exchanged initial disclosures. In its initial disclosure, Ford did not
     5   identify any analysis or investigation it had opened regarding the defect alleged
     6   in Plaintiffs’ complaint. Ford also did not identify Kenneth Lilly as an
     7   individual having relevant information regarding an analysis opened by Ford in
     8   response to an email from Transport Canada regarding the Canadian versions of
     9   the Class Vehicles. Further, Ford did not even identify any inquiry,
    10   correspondence or other communication whatsoever with Transport Canada that
    11   was relevant to Plaintiffs’ case. Zohdy Decl. Ex. 6. These lacunae are fatal to
    12   Ford’s version of the story, as described below. If, in fact, Ford already had
    13   been investigating the MECP defect in response to a Canadian inquiry and Ken
    14   Lilly was actively involved on behalf of Ford, why weren’t these facts disclosed
    15   to Plaintiffs in Ford’s Initial Disclosures?
    16         On May 6, 2014, Ford filed its Answer to Plaintiffs’ complaint. In its
    17   Answer, Ford denied all allegations that a defect exists or that Ford knew of the
    18   defect [Dkt. No. 47], even though by that time the MECP issue had reached
    19   Ford’s Critical Concern Review Group for evaluation. Still, Ford did not inform
 




    20   Plaintiffs regarding any analysis or investigation opened for a possible defect nor
    21   did Ford identify any inquiry, correspondence or other communication with
    22   Transport Canada.
    23         On July 9, 2014, Ford served its responses to Plaintiffs’ First Set of
    24   Interrogatories and Requests for Production. Zohdy Decl. Ex. 7. In its
    25   responses, Ford again denied that any defect exists, did not identify any inquiry,
    26   correspondence or other communication with Transport Canada; did not identify
    27   Kenneth Lilly in any of its discovery responses or as an individual with relevant
    28   information; and did not identify any analysis or investigation that was
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     1   concurrently opened to address the defect alleged in Plaintiffs’ complaint.
     2         G.       The Parties’ Joint Case Management Statements
     3         The Parties filed two Joint Case Management Statements on March 20,
     4   2014 and May 7, 2014. [Dkt. Nos. 41 and 48]. In both Statements, Ford denied
     5   the existence of any defect and did not disclose that any investigation was under
     6   way. Further, Ford failed to identify any inquiry, correspondence or other
     7   communication from Transport Canada and did not identify Mr. Kenneth Lilly as
     8   an individual with relevant information or that any analysis or investigation had
     9   been opened into the defect alleged by Plaintiffs.
    10         H.       Ford’s Attempt to Scrub the Motion to Dismiss Order of Any
    11                  References to Safety Defect
    12         On or around July 8, 2014, Ford’s counsel contacted Plaintiffs’ counsel in
    13   an attempt to obtain Plaintiffs’ agreement to amend the Court’s Order on Ford’s
    14   motion to dismiss. Zohdy Decl. ¶2. Ford requested that Plaintiffs’ stipulate to
    15   amend the order to remove reference to Ford’s non-dispute that the alleged
    16   defect posed a safety hazard. The parties did not ultimately reach an agreement
    17   or enter into any stipulation in response to the request.
    18         I.       Plaintiffs’ Third Demand Letter
    19         On July 10, 2014, Plaintiffs sent Ford a third settlement demand letter. In
 




    20   that letter Plaintiffs again requested that Ford address the alleged defect so that
    21   the vehicles no longer dangerously stall when the alleged defect exhibits itself.
    22   Zohdy Decl. Ex. 8. Ford never responded to Plaintiffs’ demand.
    23         J.       Ford’s Recall
    24         On September 2, 2014, after over a year of litigation and after Plaintiffs’
    25   repeated requests to resolve this matter, Ford notified NHTSA of its intent to
    26   perform a safety recall (Recall No. 14V-526) to address the exact defect in the
    27   putative class vehicles. Zohdy Decl. Ex 9. Pursuant to the Recall, Ford has
    28   admitted that the defect poses a safety hazard to drivers and fellow road-goers
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     1   because the defect “can result in a sudden stall-like condition while driving. An
     2   engine stall without warning while driving may increase the risk of a crash.”
     3   Ford pinpointed the defect to motor brushes that experience premature wear
     4   which thereby causes the MECP to overheat leading to a “Failure Mode Effects
     5   Management” strategy which causes the vehicle to exhibit sudden stall-like
     6   conditions. Ford will remedy this condition by a free of charge replacement of
     7   the MECP with a new improved brushless MECP and reimbursement of out of
     8   pocket repairs for the MECP Defect prior to the date of the safety recall
     9   notification.
    10         In short, Ford issued the Recall a year and three months after Plaintiffs’
    11   initiated this action, after Plaintiffs twice amended their complaint, after Ford
    12   twice moved to dismiss Plaintiffs’ complaint, after Ford answered Plaintiffs’
    13   complaint, after propounding discovery responses, and after Plaintiffs sent Ford
    14   multiple settlement demands to remedy the defect, and after repeatedly denying
    15   that any defect exists.
    16   IV.   FORD’S VERSION DOES NOT WITHSTAND SCRUTINY AND IS
    17         UNDERMINED BY ITS OWN SUBMISSION TO NHTSA
    18         In order for Ford’s position to have any merit, Ford would have had to
    19   completely ignore and trivialize Plaintiffs’ efforts and the safety defect concerns
 




    20   that Plaintiffs repeatedly brought to Ford’s attention and ignore the entire course
    21   of this litigation, including this Court’s own motion to dismiss ruling.
    22         Ford’s own chronology in its notice to NHTSA in connection with the
    23   Recall (Zohdy Decl., Ex.9) confirms that the information that Ford relied on to
    24   Recall the Class Vehicles already had been identified earlier by Plaintiffs’ in this
    25   lawsuit. Ford identified the following relevant dates in its chronology:
    26         (1) April 2014: Ford identified reports related to driveability issues,
    27   instrument cluster messages instructing drive to vehicle, and loss of power.
    28         (2) May 2014: This issue was opened in Ford’s Critical Concern Review
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     1   Group (CCRG) for analysis.
     2         (3) June – August 2014: Ford continued to review field data to understand
     3   the cause of the driveability and loss of power reports. It was found that the
     4   variability in the material used for brushes inside the Motor Electronics Coolant
     5   Pump could result in an elevated and increasing rate of pump failure. It was
     6   found that certain pumps containing the potentially suspect brushes could fail
     7   prematurely after many years in service.
     8         (4) August 25, 2014: Ford’s Field Review Committee Reviewed the
     9   concern and approved a field action.
    10   Id.
    11         This chronology is telling. Most glaringly, there is no reference to any
    12   Transport Canada inquiry. Similarly, Ford’s own internal documents that
    13   describe the facts leading up to the Recall contain no reference at all to a
    14   Transport Canada inquiry. Zohdy Decl. Ex. 10. In fact, this communication
    15   with Transport Canada was not identified to Plaintiffs or at all until after Ford
    16   issued the Recall and only after a convenient excuse was needed in order to
    17   avoid Plaintiffs’ catalyst fee arguments.
    18         Further, the Transport Canada communication came in February of 2014
    19   and by Ford’s own admission, no analysis or investigation was opened until
 




    20   April of 2014. If the Transport Canada correspondence was so important to
    21   Ford’s ultimate issuance of a Recall, then why did Ford wait two months -- and
    22   until after it lost on its second motion to dismiss, to open an analysis? Further, if
    23   the Transport Canada communication was so essential to Ford, why did Ford not
    24   identify it in any of its discovery responses, in its initial disclosures, or in any of
    25   the Parties’ joint filings until the catalyst fee issue arose?
    26         Next, Ford claims that in April of 2014 it “identified reports related to
    27   driveability issues, instrument cluster messages instructing driver to stop the
    28   vehicle, and loss of power.” However, these very reports are found throughout
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     1   Plaintiffs’ three prior complaints, going as far back as June of 2013. Not
     2   coincidentally, April of 2014, when Ford claims to have initiated its
     3   investigation, is directly after Plaintiffs’ Second Amended Complaint was
     4   sustained by the Court, and the Court identified the MECP defect as a safety
     5   concern. April 2014 is also when Ford submitted its Initial Disclosures to
     6   Plaintiffs in this case. But, the Initial Disclosures failed to even mention any
     7   Canadian inquiry, even though the Disclosures were served two months after the
     8   alleged Canadian inquiry was made.
     9         Ford also told NHTSA that in May of 2014 “[t]his issue was opened in
    10   Ford’s Critical Concern Review Group (CCRG) for analysis.” However, May of
    11   2014 is when Ford filed its Answer to Plaintiffs’ sustained Second Amended
    12   Complaint in which it again denied that any defect exits. In June of 2014
    13   (through August of 2014) Ford “continued to review the field data” to analyse
    14   the defect and ultimately approving the recall on August 25, 2014. Again not
    15   coincidentally, June of 2014 was when Plaintiffs sent Ford another settlement
    16   demand letter specifically addressing the MECP defect.
    17         Finally, Ford’s chronology makes it appear as if the MECP issue was
    18   something new that Ford had recently discovered. However, Ford’s own
    19   representations to this Court state that “there is no claim that Plaintiffs’
 




    20   complaint told Ford anything it did not already know about the alleged MECS
    21   defect.” [Dkt. No. 56 at 6: 7-8]. That is not entirely true. While Ford was aware
    22   of the problem since 2009, Ford did not decide to do anything about it until after
    23   Plaintiffs’ lawsuit highlighted that the MECP posed a serious safety defect. As a
    24   result of Plaintiffs’ lawsuit Ford had no choice but to admit that there may be a
    25   safety defect present. Once it was confirmed that a safety defect existed, Ford
    26   had to find a way to avoid crediting Plaintiffs for being a catalyst for the Recall.
    27   So, Ford pegged the Recall to an email inquiry from Transport Canada. It was
    28   the only fact that Ford could hang its hat on that pre-dated Ford’s loss on its
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     1   motion to dismiss.
     2   V.    THE REMAINING CATALYST REQUIREMENTS ARE
     3         SATISIFED BASED ON FORD’S STIPULATION
     4         In addition to the elements necessary to establish a catalyst theory for fees
     5   under CCP 1021.5, Plaintiff must also show that the action “resulted in the
     6   enforcement of an important right” and that a “significant benefit” on the general
     7   public or large class of persons has been conferred. See, e.g., Graham, 34 Cal.
     8   4th at 578.2 A plaintiff seeking attorneys’ fees under a catalyst theory also “must
     9   first reasonably attempt to settle the matter short of litigation.” Graham, 34 Cal.
    10   4th at 577 (“Lengthy prelitigation negotiations are not required, nor is it
    11   necessary that the settlement demand be made by counsel, but a plaintiff must at
    12   least notify the defendant of its grievances and proposed remedies and give
    13   defendant the opportunity to meet its demands within a reasonable time.”).
    14         Ford has stipulated to the foregoing prerequisites. Specifically, in order to
    15   avoid a deposition and further litigation on these issues, Ford has entered into a
    16   stipulation entitled “Stipulation to Limit Issues in Dispute Regarding Plaintiffs’
    17   Motion for Entitlement of Catalyst Fees”). Zohdy Decl. Attachment Ex. 12.
    18   Ford has stipulated that:
    19                 1.     Irrespective of any pre-litigation demand, Ford
 




    20                 would not have agreed to settle this matter on a class-
    21                 wide basis, including any safety-related recall or other
    22                 class-wide relief and therefore any pre-litigation
    23
               2
    24           Under CCP 1021.5, the Court awards attorneys’ fees to (1) a successful
         party in a litigation (2) that has resulted in the enforcement of an important right
    25   affecting the public interest (3) if a significant benefit has been conferred on the
         general public or a large class of persons, and (4) the necessity and financial
    26   burden of private enforcement are such to make the award appropriate. As set
         forth herein, Ford has stipulated that the Recall, which Plaintiffs’ contend was
    27   the result of Plaintiffs’ action, resulted in the enforcement of an important right
         affecting the public interest and that a significant benefit has been conferred on
    28   the general public or a large class of persons.
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     1                demand would have been futile;
     2                2.     The right to have a defect related to motor
     3                vehicle safety repaired pursuant to 49 U.S.C. § 3021(a)
     4                is an important right affecting the public interest; and
     5                3.     Ford’s Safety Recall 14S19 conferred a
     6                significant benefit on the general public or a large class
     7                of persons.
     8         Even without the stipulation, there is little doubt that the lawsuit and
     9   resultant Recall “conferred a significant benefit on the general public or a large
    10   class of persons” and that private enforcement was necessary, as required by §
    11   1021.5. It is well settled that attorneys’ fees under § 1021.5 may be awarded for
    12   consumer class actions benefiting a large number of people. See, e.g., Beasley v.
    13   Wells Fargo Bank, 235 Cal. App. 3d 1407, 1417-18 (1991). Similarly, based on
    14   Ford’s conduct to date, it is evident that pre-litigation attempt to settle would
    15   have been futile. An insufficient prelitigation attempt at settlement will not
    16   preclude attorneys’ fees under a catalyst motion when a prelitigation demand
    17   would have been futile. Cates, 213 Cal. App. 4th at 817.
    18   VI.   CONCLUSION
    19         For all of the foregoing reasons, Plaintiffs’ motion for entitlement to
 




    20   attorneys’ fee under a catalyst theory should be granted.
    21
         Dated: June 22, 2015                         Respectfully submitted,
    22
                                                      Capstone Law APC
    23
    24
    25                                          By:     /s/ Tarek H. Zohdy
                                                      Jordan L. Lurie
    26                                                Robert K. Friedl
                                                      Tarek H. Zohdy
    27                                                Cody R. Padgett
    28                                                Attorneys for Plaintiffs
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